_. FILED
woe CHARLOTTE, NC

IN THE UNITED STATES DISTRICT COURT OCT 26 2001
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
a U
CHARLOTTE DIVISION WESTERN DISTRICt oS No

CIVIL ACTION NO. 3:19-CV-624-DSC

DAVID DUVALL,

Plaintiff,
VERDICT FORM

Vv.

NOVANT HEALTH, INC.,

Defendant.

 

1. Has Plaintiff David Duvall proven that his race (Caucasian) and/or his sex (male) was a
motivating factor in Novant Health’s decision to terminate him?

Answer Yes or No

If you answered “No” to Question 1,do not answer the remaining questions. Please have
your foreperson sign and date this form and alert the Clerk that you have completed your
deliberations. If you answered “Yes” to Question 1, continue to Question 2.

|

2. Has Novant Health proven that it would have made the same decision to terminate David
Duvall regardless of his race (Caucasian) and/or his sex (male)?

Answer Yes or No a
poy

If you answered “Yes” to Question 2, do not answer the remaining question. Please have
your foreperson sign and date this form and alert the Clerk that you have completed your
deliberations. If you answered “Yes” to Question 1 and “No” to Question 2, continue to
Question 3.

3. What amount of punitive damages, if any, should be awarded against Novant Health?

Answer len (10 ) Mi, Wen Deller

& 10, 000, OOO

Case 3:19-cv-00624-DSC Document 99 Filed 10/26/21 Page 1 of 2

 
pay

This the Die day of October, 2021.

 
 
 
 

Signature of the Foreperson of the Jury

Printed Name of the Foreperson of the Jury:

Case 3:19-cv-00624-DSC Document 99 Filed 10/26/21 Page 2 of 2

 
